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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF FLORIDA
  WEST PALM BEACH DIVISION
  ------------------------------------------------------- x
  DONALD J. TRUMP,

                                     Plaintiff,
                                                               INTERIM REPORT AND
                   - against -                                 RECOMMENDATION NO. 1
                                                               No. 22-81294-CIV-CANNON
  UNITED STATES OF AMERICA,

                                     Defendant.

  ------------------------------------------------------- x
  RAYMOND J. DEARIE, Special Master

          Pursuant to the Order Appointing Special Master, ECF 91 (“Appointing Order”), as

  amended by the Order Following Partial Stay, ECF 104, the undersigned respectfully submits

  this interim report and recommendation.

  I.      VERIFICATION OF THE DETAILED PROPERTY INVENTORY

          Pursuant to the Amended Case Management Plan dated September 23, 2022, ECF 106

  (“Amended Plan”), on September 26, 2022, the government submitted an Affidavit Regarding

  Detailed Inventory together with a Revised Detailed Property Inventory. ECF 116; see Amended

  Plan at 1-2. The information in the Revised Detailed Property Inventory differs in some respects

  from the information in the government’s previously filed Detailed Property Inventory. See ECF

  39-1.

          Plaintiff’s deadline for submitting a declaration or affidavit contesting the government’s

  inventory is currently scheduled for September 30, 2022. See Amended Plan at 1. However, in

  light of delays in retaining a vendor to digitize the Seized Materials, see ECF 112 (granting

  motion to extend time), Plaintiff’s deadline for submitting a declaration or affidavit in response
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  to the government’s revised inventory is extended to October 7, 2022. The government’s

  deadline to file a responsive declaration or affidavit remains set for October 14, 2022.

  II.      REVIEW OF SEIZED MATERIALS

           In light of delays in selecting a document review vendor, see ECF 108, the undersigned

  extended the deadlines for the parties to review and exchange positions as to privilege assertions

  with respect to most of the Seized Materials as set forth in the Amended Plan, see ECF 112. The

  Amended Plan did not alter the original Plan’s deadlines for reviewing and exchanging positions

  as to privilege assertions with respect to the Filter Materials.

  III.     ADMINISTRATIVE MATTERS

           A.     Staffing, Compensation, and Expenses. The undersigned is today separately

  submitting a proposal for the Court’s approval pursuant to Paragraph 15 of the Appointing

  Order.

           B.     Interim Reports and Adjustments to Prior Orders. In the original Appointing

  Order, the Court directed that “the Special Master shall submit interim reports and

  recommendations as appropriate. Upon receipt and resolution of any interim reports and

  recommendations, the Court will consider prompt adjustments to the Court’s orders as

  necessary.” Appointing Order ¶ 6. However, the Court later struck that language as part of its

  order implementing an unrelated ruling by the Eleventh Circuit. As the language quoted above as

  to interim reports and adjustments to prior orders is consistent with the Eleventh Circuit’s ruling

  and the efficient administration of the Appointing Order as amended, the undersigned

  respectfully recommends that the Court issue an order reinstating that language.

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         This Interim Report and Recommendation shall be filed on the docket and deemed served

  on each party today. The parties may file objections to, or motions to adopt or modify, the

  foregoing report and recommendation by October 2, 2022. Failure to timely object shall result in

  waiver of the objection. See Appointing Order, ¶ 11; Fed. R. Civ. P. 53(f).



  Dated: Brooklyn, New York                            /s/ Raymond J. Dearie
         September 27, 2022                            RAYMOND J. DEARIE
                                                       United States District Judge




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